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   1
   2
   3
   4
   5                       UNITED STATES DISTRICT COURT
   6                    SOUTHERN DISTRICT OF CALIFORNIA
   7
       U.S. EQUAL EMPLOYMENT            )             Case No.: 3:18-cv-02014-DMS-JLB
   8                                    )
       OPPORTUNITY COMMISSION,          )
   9                                    )             CONSENT DECREE
               Plaintiff,               )             AND ORDER
  10                                    )
                                        )
  11                                    )
           vs.                          )             Honorable Dana M. Sabraw
  12                                    )             U.S. District Judge
  13
       HONOLD ENTERPRISES, INC., et al, )
                                        )
                                        )
  14           Defendants.              )
                                        )
  15
  16
             Plaintiff U.S. Equal Employment Opportunity Commission and
  17
  18
       Defendants Honold Enterprises, Inc. dba Burgers & Beer, Best Burgers in Town,

  19   Inc. dba Burgers & Beer, Burgers & Beer, Inc. dba Burgers & Beer, and BurBeer
  20   Inc. dba Burgers & Beer (hereinafter “Defendants” or “Burgers & Beer”) hereby
  21   stipulate to entry of this Consent Decree to resolve the Commission’s complaint
  22   filed on August 28, 2018 in the United States District Court for the Southern
  23   District of California alleging that Defendants discriminated against Charging
  24   Party Nickolas Madrid and a class of similarly situated individuals (hereinafter
  25   collectively referred to as the “Claimants”) by subjecting them to discrimination
  26   based on their sex (male) by failing to hire and/or promote them to the position of
  27   server in violation of Section 703 of Title VII of the Civil Rights Act of 1964, 42
  28
       U.S.C. § 2000e-2, as amended (“Title VII”). The complaint also alleges that

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   1   Defendants failed to make, preserve, and produce records in violation of Title
   2   VII.
   3          I.     PURPOSES AND SCOPE OF THE CONSENT DECREE
   4          A.    The Parties to this Consent Decree (“Decree”) are the EEOC and
   5   Burgers & Beer (collectively the “Parties”). This Decree shall be binding on and
   6   enforceable against Defendants and their officers, directors, employees, agents,
   7   successors, and assigns. The scope of this Decree is company-wide.
   8          B.    The parties have entered into this Decree for the following purposes:
   9
                    1.     To provide appropriate monetary and injunctive relief;
  10
                    2.     To ensure that Defendants’ employment practices comply
  11
              with federal law;
  12
                    3.     To ensure that Defendants’ facilities have a work environment
  13
              free from discrimination, especially as it relates to sex discrimination;
  14
                    4.     To provide training to Defendants’ managers, supervisors, and
  15
              other employees with respect to their obligations under Title VII;
  16
  17
                    5.     To review and update Defendants’ policies and procedures for

  18          the hiring of new employees and internal promotion of employees;

  19                6.     To review and update Defendants’ job descriptions for all
  20          positions;
  21                7.     To ensure that Defendants’ recruitment and hiring of
  22          employees occurs regardless of sex;
  23                9.     To ensure appropriate record-keeping and reporting; and
  24                10.    To avoid time and eliminate the costs of further litigation.
  25                              II.   RELEASE OF CLAIMS
  26          A.    This Decree fully and completely resolves all claims and allegations
  27
       raised by the EEOC against Defendants in the Complaint filed in this action.
  28


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   1           B.         Nothing in this Decree shall be construed to preclude the EEOC
   2   from bringing suit to enforce this Decree.
   3           C.         Nothing in this Decree shall be construed to limit or reduce
   4   Defendants’ obligation to comply fully with Title VII or any other federal anti-
   5   discrimination law.
   6           D.         This Decree in no way affects the EEOC’s right to bring, process,
   7   investigate, or litigate other charges that may be in existence or may later arise
   8   against Defendants in accordance with standard EEOC procedures.
   9
               E.         Defendants do not admit any liability in relation to the claims that
  10
       are alleged in EEOC’s complaint.
  11
                                          III.   JURISDICTION
  12
               A.         The Court has jurisdiction over the Parties and the subject matter of
  13
       this action. The Complaint asserts claims that, if proven, would authorize the
  14
       Court to grant the relief set forth in this Decree.
  15
               B.         The terms and provisions of this Decree are fair, reasonable, and
  16
  17
       just.

  18           C.         This Decree conforms to the Federal Rules of Civil Procedure and

  19   Title VII and does not derogate the rights or privileges of any person.
  20           D.         Entry of this Decree will further the objectives of Title VII and will
  21   be in the best interest of the Parties.
  22           E.         The Court shall retain jurisdiction over this action during the
  23   duration of the Decree for the purposes of entering all orders, judgments, and
  24   decrees which may be necessary to implement and/or enforce the relief provided
  25   herein.
  26                IV.     EFFECTIVE DATE AND DURATION OF DECREE
  27
               A.         The provisions of this Decree are effective immediately upon the
  28
       date which this Decree is entered by the Court (“the Effective Date”).

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   1         B.     Except as otherwise provided herein, this Decree shall remain in
   2   effect for two (2) years after the Effective Date.
   3               V.     COMPLIANCE AND DISPUTE RESOLUTION
   4         A.     If the Commission has reason to believe that the Defendants have
   5   failed to comply with any provision of the Decree, the EEOC may bring an action
   6   before this Court to enforce the Decree. Prior to initiating such action, the EEOC
   7   shall notify the Defendants in writing of the nature of the dispute. This notice
   8   shall specify the particular provision(s) that the EEOC believes has/have been
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       breached by Defendants. Defendants shall have thirty (30) days from receipt of
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       the written notice to attempt to resolve or cure the breach. The Parties may agree
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       to extend this period upon mutual consent.
  12
             B.     The Parties agree to cooperate with each other and use their best
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       efforts to resolve any dispute referenced in the EEOC notice of dispute.
  14
             C.     After forty five (45) days have passed, inclusive of the thirty (30)
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       days to resolve or cure the breach, if the Parties have reached no resolution or
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  17
       agreement to extend time further, the EEOC may initiate an enforcement action

  18   in this Court, seeking all available relief, including an extension of the duration

  19   of the Decree or such other relief as the Court may deem appropriate.
  20         D.     The non-payment of monies under the terms of this Decree is
  21   exempt from this Section.
  22                    VI.   MODIFICATION AND SEVERABILITY
  23         A.     This Decree constitutes the complete understanding of the Parties
  24   with respect to the matters contained herein. No waiver, modification or
  25   amendment of any provision of this Decree will be effective unless made in
  26   writing and signed by an authorized representative of each of the Parties.
  27
             B.     If one or more provisions of the Decree are rendered unlawful or
  28
       unenforceable, the Parties shall make good faith efforts to agree upon appropriate

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   1   amendments to this Decree in order to effectuate the purposes of the Decree. If
   2   the parties are unable to reach an agreement, the Court shall order appropriate
   3   alternative provisions in order to effectuate the purposes of the Decree. Should
   4   one or more provisions of this Decree be deemed unlawful, all other lawful and
   5   enforceable provisions will remain in full force and effect.
   6                             VII. MONETARY RELIEF
   7         A.      Defendants shall pay a total of $150,000 (“Total Settlement
   8   Amount”) in monetary relief. The EEOC shall retain sole discretion to determine
   9
       designation, characterization, and/or allocation of the monetary relief as well as
  10
       to determine who is a Claimant. The Total Settlement Amount shall be paid as
  11
       follows: the first payment of $50,000 shall be due distributed according to the
  12
       EEOC’s distribution list and within 6 months after the Entry of the Consent
  13
       Decree; the second payment of $50,000 shall be due distributed according to the
  14
       EEOC’s distribution list and within 10 months after the Entry of the Consent
  15
       Decree; and the third and final payment of $50,000 shall be distributed according
  16
  17
       to EEOC’s distribution list and within than 14 months after the Entry of the

  18   Consent Decree.

  19         B.      The EEOC shall provide Defendants with a distribution list that
  20   specifies the monetary settlement amount that is to be provided to each Identified
  21   Claimant, and their respective addresses where the check should be delivered.
  22   Within ten (10) days from the date the EEOC sends the distribution list to
  23   Defendants, Defendants shall issue a check in accordance with section A above
  24   to each Identified Claimant who has submitted all settlement-related papers to
  25   Defendants.
  26         C.      Defendants shall prepare and distribute Form 1099 or equivalent tax
  27
       reporting forms to Identified Claimants identified by the EEOC and shall make
  28
       the appropriate reports to the Internal Revenue Service and other tax authorities.

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   1   Defendants shall be solely responsible for any costs associated with the issuance
   2   and distribution of the 1099 forms to the Identified Claimants.
   3         D.     Within ten (10) days of the issuance of each check, Defendants shall
   4   submit a copy of each check and related correspondence to the Regional Attorney
   5   Anna Y. Park, United States Equal Employment Opportunity Commission, 255
   6   East Temple Street, 4th Floor, Los Angeles, CA 90012.
   7         E. The EEOC will be notified of any remaining amounts of money within
   8   45 days of the last payments made by Defendants. Any remaining amounts will
   9
       be redistributed according to the EEOC’s discretion as set forth above.
  10
                          IX.     GENERAL INJUNCTIVE RELIEF
  11
             A.     Sex Discrimination
  12
             Defendants, their directors, officers, agents, managers (including all
  13
       supervisory employees), other employees, successors, assigns, and all those in
  14
       active concert or participation with them, or any of them, shall be enjoined from
  15
       discriminating against any individual on the basis of sex including, without
  16
  17
       limitation, by limiting the hiring and promotion of males as servers.

  18         B.     Retaliation

  19         Defendants, their directors, officers, agents, managers (including all
  20   supervisory employees), other employees, successors, assigns, and all those in
  21   active concert or participation with them shall be enjoined from engaging in,
  22   implementing or permitting any action policy or practice with the purpose of
  23   retaliation against any applicant, current employee, or former employee of
  24   Defendants or successors or either of them because he or she has in the past or
  25   during the term of this. Decree (a) opposed any practice made unlawful under
  26   Title VII, (b) filed a charge of discrimination alleging such practice, (c) testifying
  27
       or participating in any manner in any investigation internally with defendants or
  28
       with the EEOC, (d) was identified as a witness or claimant in this Action, or (e)

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   1   asserted any rights under this Decree, or (f) sought or received relief in
   2   accordance with this Decree.
   3         C.     Record-Keeping
   4         Defendants, their directors, officers, agents, managers (including all
   5   supervisory employees), other employees, successors, assigns, and all those in
   6   active concert or participation with them, or any of them, shall be enjoined from
   7   destroying, misplacing, or otherwise not holding documents that may be relevant
   8   in determining whether unlawful employment practices have been made or are
   9
       being committed for the duration of this Decree. This includes, but is not limited
  10
       to, applications for hire by both successful and non-successful applicants.
  11
                          X.     SPECIFIC INJUNCTIVE RELIEF
  12
             A.     Recruitment Plan
  13
             1.     Within thirty (30) days of the Effective Date, Defendants shall create
  14
       and implement a Recruitment Plan for server positions. The recruitment plan is
  15
       intended to increase the pool of male applicants and move beyond the”word of
  16
  17
       mouth” hiring. As such, the recruitment plan shall include:

  18                a.     Provide written notice of all job openings;

  19                b.     Ensure that all written notice of open positions has no
  20   indication of preference for females over males for the position by encouraging
  21   all individuals (men and women) to apply;
  22                c.     Plan to publicize the positions beyond a “word of mouth”
  23   recruitment by advertising in publications, public areas, online platforms, or other
  24   locations to encourage applicants to apply;
  25                d.     If possible, participate in job fairs;
  26                e.     Utilize social media to publicize job openings;
  27
  28


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   1                 f.    Noting and tracking all inquiries from internal employees for
   2   the position of server, and, where applicable, considering those individuals for
   3   any position of server that should open.
   4         2.      Recruitment Plan Reporting
   5          Within thirty (30) days of the Effective Date and annually thereafter,
   6   Defendants shall provide the EEOC the recruitment plan. The Recruitment Plan
   7   report shall specifically provide:
   8                 a.    A detailed description of each program/process which
   9
       Defendants implemented by each location;
  10
                     b.    The date that each program/process was implemented;
  11
                     c.    The name(s) and job title(s) of those employees responsible
  12
       for implementing each program/process by location;
  13
                     d.    Copy of all documents reflecting proof of the recruitment
  14
       being undertaken;
  15
                     e.    Holding employees involved in the recruitment process
  16
  17
             accountable for implementing the Recruitment Plan;

  18         B.      Hiring Policies and Procedures

  19         1.      Within sixty (60) days after the Effective Date, Defendants shall
  20   review, revise, distribute, and implement its policies and procedures regarding
  21   the hiring of employees. Such policies and procedures shall include but not be
  22   limited to:
  23                 a.    A strong and clear statement that all hiring decisions will be
  24   free from discrimination;
  25                 b.    An assurance that all hiring and promotion decisions will be
  26   made regardless of sex;
  27
                     c.    The implementation of written job descriptions and clear
  28
       minimum qualifications for each job;

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   1                 d.    A clearly defined hiring process and criteria used in the
   2   selection process along with clearly defined decision makers;
   3                 e.    A strong and clear list of potential interview questions that a
   4   manager must select from when interviewing a potential employee for hire;
   5                 f.    A strong and clear multi-faceted evaluation system for
   6   potential employees and potential promotions to be used in determining whether
   7   someone should be hired or promoted; and
   8                 g.     A description of the possible consequences upon violation of
   9
       the hiring and promotion procedures.
  10
             2.      Within ninety (90) days of the Effective Date of this Decree,
  11
       Defendants shall provide to the EEOC a copy of all policies and procedures
  12
       related to hiring. Within ninety (90) days of the Effective Date, Defendants shall
  13
       ensure that it has distributed its hiring policies to all management and otherwise
  14
       necessary personnel. Within ninety (90) days of the Effective Date, Defendants
  15
       shall submit to the Commission a statement confirming distribution of the
  16
  17
       policies.

  18         3.      Defendants shall submit to the EEOC any revisions made after the

  19   above to Defendants’ policies and procedures regarding hiring and promotion
  20   sixty (60) days prior to the implementation.
  21         4.      For each new management, human resource, and other necessary
  22   personnel hired after the initial distribution of the policies as described herein,
  23   Defendants shall ensure that the new employee receives the applicable policies
  24   within ten (10) days of employment. When reports are submitted to the EEOC,
  25   they should include a statement confirming distribution of the policies and
  26   procedures to any person hired after the initial distribution but within the terms of
  27
       the Decree.
  28
             C. Applicant Flow Log

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    1           Within thirty (30) days of the Effective Date, Defendants shall create and
    2   maintain an Applicant Flow Log for each server position job opening during the
    3   Decree substantially similar to that attached as Attachment A to this Decree. The
    4   Defendants shall submit the Applicant Flow Log to the EEOC on a semi-annual
    5   basis for review. The Applicant Flow Log shall include the following information
    6   for each job opening:
    7                 a.    Job title and description;
    8                 b.    Location;
    9
                      c.    Identity of the selecting official(s) along with title:
   10
                      e.    Number of applications and inquiries received, both internally
   11
        and externally;
   12
                      f.    Name and gender (if disclosed) of the applicants, indicating
   13
        whether the candidate is an internal or external candidate;
   14
                      g.    Number of selections made during the hiring period; and
   15
                      h.    Name and gender (if disclosed) of who was ultimately hired.
   16
   17
                      i.    The EEOC shall prescribe the appropriate inquiry to be made

   18           by Defendants as to employee’s or applicant’s gender or sex.

   19           Defendants shall maintain documentation submitted by the applicants in
   20   connection with the application process including the application. Defendants
   21   shall create a system to maintain all applications and underlying selection
   22   documents related to open server positions. Selection documents mean any notes
   23   or other documentation related to each hiring done. The documents shall be
   24   produced semi-annually along with the Applicant Flow Log from the Effective
   25   Date.
   26           D.    Hiring
   27
                For the duration of this Decree, Defendants shall endeavor to increase
   28
        diversity into their server workforce. A year after the Effective Date of this

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    1   Decree, Defendants shall endeavor to meet a hiring and retention rate of men into
    2   server positions at each of the restaurants as follows:
    3         A. Riverside County- 34%
    4         B. Imperial County- 18%
    5         C. Yuma County- 27%
    6         D. All other locations or counties: 34% percent men in the server positions.
    7         The EEOC contends that this is the appropriate percent.
    8         Defendants shall not discriminate against female applicants or employees
    9
        in an effort to meet the EEOC’s standard. However, if Defendants fail to meet
   10
        this annual hiring endeavor, the EEOC shall review the Defendants’ good faith
   11
        compliance with its obligations under the Decree in order to determine whether
   12
        Defendants have violated the Decree. If Defendants have acted in good faith in its
   13
        recruitment and hiring practices, but in spite of its good faith efforts has not
   14
        attained the hiring endeavor for that year, Defendants may be excused from such
   15
        non-compliance and shall not be deemed in violation of this section of the
   16
   17
        Decree. If the EEOC contends that Defendants have violated this section, then the

   18   dispute resolution section may be invoked.

   19         To the extent any Claimants involved in this action are no longer employed
   20   and wish to be re-employed with the Defendants, the EEOC shall provide
   21   Defendants a list of individuals wishing to be re-employed and positions they are
   22   seeking for employment. Defendants shall consider these individuals for
   23   available positions in the same manner as other persons are considered for a
   24   position if there is an opening. If they are selected, then Defendant will make an
   25   offer of employment. Defendants’ obligation to hire the individual declining the
   26   offer ceases. Defendants’ offers and any declines shall be documents in the
   27
        Applicant Flow Log.
   28
                     E.     Job Descriptions

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    1         Within sixty (60) days after the Effective Date, Defendants shall review,
    2   revise, distribute, and implement its job descriptions for all positions (for which
    3   there are more than 3 employees), including but not limited to server. Such job
    4   descriptions shall lay out the requirements for each position, advancement
    5   opportunities within the Company in the event the employee is successful in his
    6   position and is qualified for a promotion; what his job duties are in that position,
    7   and what requirements there are to be in that position. Said job descriptions and
    8   duties shall be applied equitably irrespective of sex. A copy of the job
    9
        descriptions shall be given to the EEOC with its semi annual-reporting.
   10
              F.     Policies and Procedures for Promotions
   11
              1.     Within sixty (60) days after the Effective Date, Defendants shall
   12
        review, revise, distribute, and implement its policies and procedures regarding
   13
        discrimination. Such policies and procedures shall include:
   14
                     a.     A strong and clear commitment to a workplace free from
   15
        discrimination;
   16
   17
                     b.     A statement encouraging employees to come forward if they

   18   believe that they have been subjected to sex discrimination under Title VII;

   19                c.     An assurance that Defendants’ policies and procedures
   20   regarding the hiring of employees to any position are applied equally to all
   21   persons regardless of sex;
   22                d.     An assurance that Defendants’ policies and procedures
   23   regarding the promotion of employees to any position are applied equally to all
   24   persons regardless of sex;
   25                e.     Ensuring that Defendants’ promotion and/or transfer policies
   26   are not applied in a manner that violates Title VII and that managers will be held
   27
        accountable for ensuring compliance with Title VII;
   28


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    1                  f.    A process for promotional opportunities for server.
    2   Specifically, promotional opportunities into server and other positions shall be
    3   posted in areas accessible and visible by all employees. If external candidates are
    4   considered, then the position shall be publicized by various methods, either the
    5   internet, flyers in public locations including the locations with the promotional
    6   opportunity, or other means to ensure open publication of the positions.
    7                  g.    An application process shall be implemented in which all
    8   interested employees will apply for the promotion for server within a timeframe
    9
        provided in the notice.
   10
                       h.    Defendants shall develop a selection process in which
   11
        documents related to the selection process for server shall be maintained under
   12
        this Decree.
   13
              i.       Individuals selected and not selected will be given notice
   14
        accordingly.
   15
              j.       A promotional tracking log for servers in which the promotional
   16
   17
        opportunity is tracked by location, position, applicants who applied, identification

   18   of those interviewed, and those selected for the job. The applications, notes, and

   19   documents related to the selection shall be maintained and produced to the EEOC
   20   semi-annually from the Effective date for the duration of the Decree.
   21         2.       Within ninety (90) days of the Effective Date of this Decree,
   22   Defendants shall provide to the EEOC a copy of all policies and procedures set
   23   forth herein relating to hiring and promotions. Within one hundred and twenty
   24   (120) days of the Effective Date, Defendants shall ensure that it has distributed
   25   the policies and procedures to all employees, including managers, supervisors
   26   and otherwise necessary personnel. Within one hundred and fifty (150) days of
   27
        the Effective Date, Defendants shall submit to the Commission a statement
   28
        confirming distribution of the policies.

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    1         3.     Defendants shall submit to the EEOC any revisions to Defendants’
    2   policies and procedures set forth herein sixty (60) days prior to the
    3   implementation of the proposed change.
    4         4.     For each new employee hired after the initial distribution of the
    5   policies as described herein, Defendants shall ensure that the new employee
    6   receives the applicable policies within ten (10) days of employment. When
    7   reports are submitted to the EEOC, they should include a statement confirming
    8   distribution of the policies and procedures to any person hired after the initial
    9
        distribution but within the terms of the Decree.
   10
              G.     Posting
   11
              Within ten (10) days after the Effective Date and throughout the term of
   12
        this Decree, Defendants shall post a full-sized copy of Attachment B, which sets
   13
        forth the terms of this Decree in clearly visible locations frequented by their
   14
        employees (i.e. break rooms or bulletin boards with other employee notices) in
   15
        each of their locations. The postings shall remain posted for the duration of this
   16
   17
        Decree.

   18
   19         H.     Training
   20         1.     Non-Management Education and Training. During the term of this
   21   Consent decree, all non-management employees shall receive a copy of and
   22   acknowledge receipt of Defendants’ policies and procedures and federal anti-
   23   discrimination laws with an emphasis on sex discrimination and Defendants’
   24   revised policies and procedures for recruitment, hiring, promotion, and transfers.
   25   Examples shall be given of prohibited conduct to ensure understanding by the
   26   employees. The training in this section will be satisfied with the non-
   27
        management training required pursuant to California Government Code section
   28
        12950.1, which requires training in the prevention of harassment, discrimination,

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    1   and retaliation on the basis of sex within 6 months of hiring. All persons required
    2   to receive such training shall verify their attendance in writing. Employees not
    3   trained shall be provided training along with the materials. Employees not trained
    4   shall be identified in the reporting the EEOC.
    5         2.     Management Training. Within one hundred and fifty (150) days of
    6   the Effective Date of this Decree, and then on an annual basis thereafter,
    7   Defendants shall begin to provide live interactive training lasting at least (1) hour
    8   in duration to all managers, any staff members who are responsible for any part
    9
        of the recruitment, hiring and promotion process, and any staff members who are
   10
        responsible for handling any documents generated by employees or prospective
   11
        employees. The training in this section will expand upon the training defendants
   12
        will have for managers under California Government Code section 12950.1,
   13
        which requires training in the prevention of harassment, discrimination, and
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        retaliation on the basis of sex which shall be expanded to encompass the training
   15
        in this section. The training related to hiring as set forth in this section shall be
   16
   17
        incorporated into the California requirement training. The training shall focus on

   18   Defendants’ policies and procedures in compliance with federal anti-

   19   discrimination laws, specifically focusing on Defendants’ obligations and
   20   responsibilities under Title VII and this Decree for recruitment, hiring and
   21   promotion. Specifically, the training will address how to recruit new employees;
   22   what criteria to use in hiring new employees and promoting and/or transferring
   23   employees; what criteria is prohibited in hiring new employees and promoting
   24   and/or transferring employees; how to review hires and promotions to ensure that
   25   the proper criteria was used; what to do if it appears that an employee was hired
   26   or promoted based on sex particularly in job duties being assigned; and what to
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        do with applications after an applicant has been either denied or accepted for hire,
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        including but not limited to creating written documentation of the selection

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    1   process as to each applicant’s selection or non-selection and written assessments
    2   by each person involved in the selection process.
    3         When a managerial employee or supervisor is unable to attend the
    4   scheduled training, Defendants shall provide a live training at an alternative
    5   session covering the same issues set forth about within thirty (30) days of the
    6   training. Management personnel on medical or personal leave shall have an
    7   additional 60 days to comply with this requirement following their return from
    8   leave. All persons required to attend such training shall verify their attendance in
    9
        writing.
   10
              3.     All training materials shall be provided to the EEOC and the EEOC
   11
        may provide feedback for all trainings thirty (30) days prior to the first training.
   12
        Defendants shall give the EEOC a minimum of thirty (30) days advance written
   13
        notice of the date, time and location of each live training provided pursuant to
   14
        this Decree, as well as provide the EEOC with the training materials. The written
   15
        notice shall be sent via U.S. Mail to the attention of Anna Y. Park, Regional
   16
   17
        Attorney, U.S. Equal Employment Opportunity Commission, 255 East Temple

   18   Street, 4th Floor, Los Angeles, California, 90012 and via email at

   19   anna.park@eoc.gov. An EEOC representative may attend any such training, at
   20   the sole discretion of the EEOC.
   21         4.     Within ninety (90) days of the initial training and any training
   22   thereafter, Defendants shall produce to the EEOC documents verifying the
   23   occurrence of all training sessions conducted as required under this Decree,
   24   including the written training materials used, a description of the training
   25   provided, a list of individuals who conducted the training, and a copy of the
   26   written verification for each attendee to the training sessions.
   27
                     XI.    RECORD-KEEPING AND REPORTING
   28
              A.     Record-Keeping

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    1         For the duration of the Decree, Defendants shall establish a record-keeping
    2   procure that provides for the maintenance of all records necessary to demonstrate
    3   their compliance with this Decree, including but not limited to the documents
    4   specifically identified below, and to verify that the reports submitted are accurate.
    5   The records to be maintained shall include:
    6         1.     All documents pertaining to recruitment, hiring, promotion, and/or
    7   transfer for the server position, including but not limited to postings,
    8   advertisements, applications, resumes, interview notes, interview questions,
    9
        written assessments created by each person involved in the selection process,
   10
        and/or a log of all persons who inquire about a job, including name, date of
   11
        inquiry, and summary of response by Defendants;
   12
              2.     All documents pertaining to the server position, including but not
   13
        limited to the applicant flow log and all applications/resumes;
   14
              3.     All documents pertaining to each employee separation of server
   15
        necessary to determine whether an open position was created;
   16
   17
              4.     All forms acknowledging employees’ receipt of Defendants’

   18   Policies and Procedures regarding sex discrimination and hiring/promotion; and

   19         5.     Documents reflecting the provision of training and materials
   20   described in above, and names and positions of all attendees for each session as
   21   required under this Decree.
   22         Defendants shall provide the aforementioned documents and log to the
   23   EEOC on a semi-annual basis following the Effective Date of this Decree.
   24         B.     Reporting
   25         Within one hundred-eighty (180) days after the Effective Date and every
   26   six (6) months from the Effective Date thereafter for the Decree term, Defendants
   27
        shall provide a written report to the EEOC containing:
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    1                1.     Confirmation that all Defendants have complied with their
    2   obligations regarding training as described in this Decree including the sign in
    3   sheet of employees and/or acknowledgements;
    4                2.     The Applicant Flow Log and the underlying documents
    5   related to that including a copy of the applications for employment, including
    6   documentation as to whether that individual was selected for employment, and a
    7   description as to why or why they were not selected for employment;
    8                3.     A copy of each job opening, including the job description;
    9
                     4.     Documents related to the recruitment plan and underlying
   10
        documents reflecting implementation of the recruitment plan’
   11
                     5.     The Promotion log and the underlying documents;
   12
                     6.     All documents reflecting an inquiry about any job opening at
   13
        any of Defendants’ establishments and/or all applications and/or supporting
   14
        documentation submitted by an applicant or otherwise obtained by Defendants
   15
        such as background checks or reference checks;
   16
   17
                     7.     All documents reflecting efforts made to reach the years

   18   hiring goals, including but not limited to publications for open positions, the

   19   collection of applications for a specific position, documentation of all internal
   20   requests to be considered for the position, documentation of all those interviewed
   21   for the position, and documentation of why each candidate was or was not
   22   selected for the position. If the hiring goals were not met for the year, clear
   23   documentation is required to demonstrate the reason for the shortfall;
   24                8.     A statement confirming that the required notices pertaining to
   25   this Decree and the Final Policy have been posted;
   26                9.     A complete employee list, including start date and job title;
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        and
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    1                10.   Any underlying documents to support compliance under this
    2                      Decree.
    3     XII. COSTS OF ADMINISTRATION AND IMPLEMENTATION OF
    4                                 CONSENT DECREE
    5         Defendants shall bear all costs associated with its administration and
    6   implementation of its obligations under this Decree.
    7                      XIII. COSTS AND ATTORNEYS’ FEES
    8         Each Party shall bear its own costs of suit and attorneys’ fees.
    9
                           XIV. MISCELLANEOUS PROVISIONS
   10
              A.     During the term of this Decree, Defendants shall provide any
   11
        potential successor-in-interest with a copy of this Decree within a reasonable
   12
        time of not less than thirty (30) days prior to the execution of any agreement for
   13
        acquisition or assumption of control of Defendants’ facilities, or any other
   14
        material change in corporate structure that would affect Defendants’ facilities and
   15
        shall simultaneously inform the EEOC of same.
   16
   17
              B.     During the term of this Decree, Defendants and its successors shall

   18   ensure that each of its directors, officers, human resource personnel, managers,

   19   supervisors and team managers are aware of any term(s) of this Decree which
   20   may be related to his/her job duties.
   21         C.     Unless otherwise stated, all notices, reports and correspondence
   22   required under this Decree shall be delivered to the attention of the Regional
   23   Attorney, Anna Y. Park, U.S. Equal Employment Opportunity Commission, Los
   24   Angeles District Office, 255 E. Temple St., 4th Fl., Los Angeles, CA 90012 or
   25   via email at anna.park@eeoc.gov.
   26         D.     The EEOC may see additional documents or seek to interview
   27
        Defendants’ employees, and/or visit various facilities in carrying out its
   28
        monitoring obligations to ensure compliance under this Decree. The EEOC will

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    1   provide thirty (30) days notice of any information and/or need to visit
    2   Defendants’ locations to Defendants to which Defendants shall notify the EEOC
    3   if it requires additional time. Defendants shall designate an individual to
    4   communicate with the EEOC during the term of this Decree. The parties will
    5   work together to accommodate such exchange if needed.
    6         E.     The Parties agree to entry of this Decree and judgment subject to
    7   final approval by the Court.
    8              XV. COUNTERPARTS AND FACSIMILE SIGNATURES
    9
              This Decree may be signed in counterparts. A facsimile signature shall
   10
        have the same force and effect of an original signature or copy thereof.
   11
              All parties, through the undersigned, respectfully apply for and consent to
   12
        the entry of this Decree as an Order of this Court.
   13
   14
                                                  Respectfully Submitted,
   15
                                                  U.S. EQUAL EMPLOYMENT
   16                                             OPPORTUNITY COMMISSION
   17
        Dated: September 5, 2019                  By: S/ Anna Y. Park
   18                                                Anna Y. Park
                                                     EEOC Regional Attorney
   19                                                Attorney for Plaintiff EEOC
   20
   21
   22
        Dated: September 5, 2019                  By: S/ Nadia P. Bermudez
   23                                                   Nadia P. Bermudez
   24
                                                        Attorney for Defendants
                                                        Honold Enterprises, Inc.
   25                                                   Best Burgers in Town, Inc.
   26                                                   Burgers & Beer, Inc.
                                                        BurBeer Inc.
   27
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    1
                                            By: S/ Jaime Honold
    2                                           Jaime Honold
    3                                            For Honold Enterprises, Inc.
    4
    5
                                            By: S/ Jaime Honold
    6                                           Jaime Honold
    7                                            For Best Burgers in Town, Inc.
    8
    9
                                            By: S/ Jaime Honold
   10                                          Jaime Honold
   11                                            For Burgers & Beer, Inc.
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   13
                                            By: S/ Jaime Honold
   14                                          Jaime Honold
   15                                            For BurBeer, Inc.
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    1                                       ORDER
    2         The provisions of the foregoing Consent Decree are hereby approved and
    3   compliance with all provisions thereof is HEREBY ORDERED.
    4         The Clerk of Court is directed to CLOSE THIS CASE.
    5         The Court hereby retains jurisdiction over this Consent Decree until its
    6   termination.
    7         IT IS SO ORDERED.
    8   Dated: December 10, 2019
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